7 F.3d 224
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Don V. LEE-BEY, Plaintiff-Appellant,v.William SMITH;  Clarence Hall;  William Hutchinson;  RobertMyers, Defendants-Appellees.
    No. 93-6707.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 22, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Don V. Lee-Bey, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Carolyn Annette Quattrocki, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, for Appellees.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Don V. Lee-Bey appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lee-Bey v. Smith, CA-93-153-MJG (D. Md. June 11, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    